CaSe:lS-lOZ?S-SDB DOC#226 Filed:OB/OQ/J_S Entered205/09/1811217237 Page:l Of2

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA

ln re: ` "\'&c)€\ l" MC@O Cha er 13
FY€¢\ al sua w Case lI)\lo. lB"’WZ:]'B’®Q>

Debtor(s)

Trustee's Motion To Confirm Plan As Amended

Trustee moves that Debtor's(s') plan be confirmed The plan, as amended commits Debtor'S(s') disposable
income to the plan for a period of at least thirty-six months and otherwise conforms to the requirements of Title
ll. The plan, as amended Will pay $ or more to unsecured creditors, but in any event
Will pay not less than _ ' % of the total allowed unsecured claims.

Debtor's(s') plan is amended to:
[l Raise payments/extend plan as follows:
E Change valuation(s) as folloWs:

\:l AlloW/Modi_fy/Disallow claims as folloWs:

E`/Other: gee A&M`M£ '§YW\ 'FV\/ (-€F&YCUCC

Trustee certifies that none of the fore ng amendments Wice to creditc?s%tlier than those Whose
consent has been given. This 2§ day of _ y \ , 20 f .

\\\&\ 'G/t@“' “’°‘:’3@°"~” gin/5 914/x .

 

 

 

Debtor’S Counsel M,{g,hvl L'U¢\Llc£r Chajp i"'l?) Trustee
Jane E. Mil|er
jA/C/o€MF-d€o» /M //)7@4,§/ Attom'ey for Chapter 13
(/Debtor Trustee I-luon Le

GA. Bar No“ 256304

 

Debtor

 

Creditor’s Counsel

 

Creditor’s Counsel

Revi$ed 12/1/2017 FOrm 2017-4-A

CaSe:lS-lOZ?S-SDB DOC#226 Filed:OB/OQ/J_S Entered205/09/1811217237 PaQeZZ Of2

lN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DlSTRICT OF GEORGIA

ln re: Fredericka l\/litchell-Moss Chapter 13

Case No. 18-10273
Debtor(s)

'I`rustee’s Motiun To Conf"lrm Plan As Amended

Trustee moves that Debtor’s(s’) plan be conlirmed. The plan, as amended commits Debtor’s(s’) disposable
income to the plan for a period of at least thirty-six months and otherwise conforms to the requirements of
Title l l. The plan, as amended will pay $ or more to unsecured creditors, but in any event Will
not pay less than % of the total allowed unsecured claims.

 

Debtor’s(s’) plan is amended to:

lj Raise payments/extend plan as follows:

 

 

l:l Change valuation(s) as follows:

 

 

 

 

 

 

 

\:I Allow/Modify/Disallow claims as follows:

 

 

 

 

 

§ Other: Debtor will a Creditor TitieMax of Geor ia lnc. outside the lan. Debtor Will a make five
monthly payments of $354.79 and a sixth monthly payment of $354.80 heginningln lime 15. 2018 and
continuing each month thereafter until the total amount of $2,128.?5 is paid in

full.

 

 

 

Trustee certifies that none of the ' 'egoing endnienls require noticet reditors, other than those whose
consent has been given This day o'l"% , QU/ .

Cl .er]|`§`/"l`mteef.zdlol‘liey ‘.`-"_
lf applicable: lon Le, i.mcy minn il
%;¢L// / Trustee Huon Le

' ' -r'&*?*”Bz',r No. 256304
Debtol- (?reditor’s Coug£l ,,4,¢/.,/,“7 aff _!_'_;‘/!/4%
Ga B~>/' 0 7 ///\5,__'__

    
 

 

 

 

 

Creditor’s Counsel
_GYML:*?>§W _
M MV Creditor’s Counsel

 

 

Revised 12/1/2017 Form 2017-4~A

